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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                     FORT MYERS DIVISION

 ETHAN A. HOLMES, for himself and on
 behalf of those similarly situated

                   Plaintiff,

 v.                                                           Case No: 2:16-cv-669-FtM-38MRM

 SWISSPORT FUELING, INC. and
 SWISSPORT SA FUEL SERVICES,
 LLC,

                 Defendants.
                                                   /

                                                 ORDER1

         Before the Court is United States Magistrate Judge Mac R. McCoy’s Report and

 Recommendation. (Doc. 115). Judge McCoy recommends the following:

         •    granting the parties’ Joint Motion for Approval of Settlement Agreement (Doc.

              105) and approving their settlement;

         •    dismissing this action with prejudice as to Plaintiff Ethan Holmes and Opt-In

              Plaintiffs Brandon Buchanon, James Gant, Giovanni Rodriguez, Kalyn Lady,

              Kevin Kilmartin, and Jalen Edwards; and

         •    dismissing this action without prejudice as to Opt-In Plaintiffs Carlos Diaz,

              Bradley Alderson, Richard Hagerty, and Francisco Ortiz.




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 No party objects to the Report and Recommendation, and the time to do so has expired.

 The Report and Recommendation is thus ripe for review.

        A district judge “may accept, reject, or modify in whole or in part, the findings or

 recommendations made by the magistrate judge.” 28 U.S.C. § 636(b)(1). The district

 judge “shall make a de novo determination of those portions of the report or specified

 proposed findings or recommendations to which objection is made.” Id. And “[t]he judge

 may also receive further evidence or recommit the matter to the magistrate judge with

 instructions.” Id.

        After examining the file independently, and upon considering Judge McCoy’s

 findings and recommendations, the Court accepts and adopts the Report and

 Recommendation.

        Accordingly, it is now

        ORDERED:

        (1) The Report and Recommendation (Doc. 115) is ACCEPTED and ADOPTED

            and the findings incorporated herein.

               a. The Joint Motion for Approval of Settlement Agreement (Doc. 105) is

                      GRANTED.

               b. The Settlement Agreement and Acknowledgment and General Release

                      (Docs. 105-1, 112, 113) are APPROVED as a “fair and reasonable

                      resolution of a bona fide dispute” of the parties’ FLSA issues.

        (2) The Clerk of Court is DIRECTED to




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              a. DISMISS this action with prejudice as to Plaintiff Ethan Holmes and

                   Opt-In Plaintiffs Brandon Buchanon, James Gant, Giovanni Rodriguez,

                   Kalyn Lady, Kevin Kilmartin, and Jalen Edwards;

              b. DISMISS this action without prejudice as to Opt-In Plaintiffs Carlos

                   Diaz, Bradley Alderson, Richard Hagerty, and Francisco Ortiz; and

              c.   terminate all pending motions and close the file.

       (3) The funds allocated to Richard Hagerty and Francisco Ortiz in the Settlement

          Agreement remain with Swissport Fueling.

       DONE and ORDERED in Fort Myers, Florida this 26th day of March 2019.




 Copies: All Parties of Record




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